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                         Civil Case Information Statement
 Case Details: BERGEN | Civil Part Docket# L-002850-24

 Case Caption: U FLEX PACKAGING INC . VS GREAT                    Case Type: OTHER INSURANCE CLAIM (INCLUDING
 AMERICAN INSUR A                                                 DECLARATORY JUDGMENT ACTIONS)
 Case Initiation Date: 05/14/2024                                 Document Type: Complaint with Jury Demand
 Attorney Name: PATRICK J JENNINGS                                Jury Demand: YES - 12 JURORS
 Firm Name: PATRICK J. JENNINGS                                   Is this a professional malpractice case? NO
 Address: 155 POLIFLY ROAD SUITE 201                              Related cases pending: NO
 HACKENSACK NJ 07601                                              If yes, list docket numbers:
 Phone: 2013422000                                                Do you anticipate adding any parties (arising out of same
 Name of Party: PLAINTIFF : U Flex Packaging Inc.                 transaction or occurrence)? NO
 Name of Defendant’s Primary Insurance Company                    Does this case involve claims related to COVID-19? NO
 (if known): Unknown
                                                                  Are sexual abuse claims alleged by: U Flex Packaging Inc.? NO



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO
 Medical Debt Claim? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 05/14/2024                                                                                      /s/ PATRICK J JENNINGS
 Dated                                                                                                            Signed
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